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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Ë¾·¯«·¬· Ò»¬©±®µ-ô ×²½ò ªò                     Case Number: ïæïèó½ªóðëíêç
            Ý¿³¾·«³ Ò»¬©±®µ-ô ×²½òô »¬ ¿´ò

An appearance is hereby filed by the undersigned as attorney for:
Ë¾·¯«·¬· Ò»¬©±®µ-ô ×²½ò
Attorney name (type or print): Elizabeth B. Herrington

Firm: Ó±®¹¿²ô Ô»©·- ú Þ±½µ·«- ÔÔÐ

Street address: éé É»-¬ É¿½µ»® Ü®·ª»

City/State/Zip: Ý¸·½¿¹±ô ×Ô êðêðï

Bar ID Number: 6244547                                     Telephone Number: 312-324-1000
(See item 3 in instructions)

Email Address: beth.herrington@morganlewis.com

Are you acting as lead counsel in this case?                                    ì Yes              No

Are you acting as local counsel in this case?                                        Yes       ì No
Are you a member of the court’s trial bar?                                      ì Yes              No

If this case reaches trial, will you act as the trial attorney?                 ì Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this ourt an attorney must either be a member in good standing of this ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 . . §1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on èñéñîðïè

Attorney signature:            S/ Elizabeth B. Herrington
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
